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APPENDIX C
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In the Matter Of:

  

EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
vs
ECOLOGY SERVICES, INC.

 

MARVIN GAITAN
February 15, 2019

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| reporting solutions

 

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Case 1:18-cv-01065-ADC Document 49-9 Filed 06/21/19 Page 3 of 17

MARVN GAIAN -02A5/2019

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2 FOR THE DBTRETOF MARYLAND

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6 OPPORTUNITY COMMBSDN, *
7 Pant * CwiActonNo.
8 vs. * 1128CV01065ELH

9 ECOLOGY SERVEES,NC. *

10 Defendant. *

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1 APPEARANCES 1 CONTENTS

2 2 EXAM NATDN OF MARVN GAIAN PAGE
3°OON BEHALF OF THE PLANTFF; 3 By Mx, Them pson 7

4 ERIC 6,THOMPSON,ESQURE 4 By M6, Coopem an 4

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10 10) 209-2232 10 Attached to the Tranecrpd
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13 13°) Exhbt2 7407 D-bcpthary Actbn, 011 43

14 ON BEHALF OF THE DEFENDANT:

15 HARRETE.COOPERMAN ESQURE
16 Saul] Ew hg, Aineieh & Lehr, LLP

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17 Eyhbk6 10/A2/5 Em pbyee Tem hathn Fom 039 49
18 Exhbt? 625/A6 Empbyee Dicpinary Fom 100 74
19 Exhbts 7AA6 Empbyee Discbthary Fom ,103 7?
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MARVIN GAITAN -02/5/2019 Pages 6.9
Page 6 Page 4
1 Exhbrid BALA6 Empbyee D Repinary Pom 105 82 1 appropriate responses because it's not possible for the
2 Exhbtil 8/6 Ra pbyee D keptnary Pom 106 84 2 court reporter to take them down.
3 Bxbbtiz GAA6 Em pbyee Dikchinary Fam 107 95 3 Can you agree to answer questions out loud
4 Bxbbt13 9A0A6 Bapbyee D bopinary Fom 108 86 4 and with words?
§ Sxhbrid 11/A6 Be pbyee Dcpimary Fou 109 87 5 A Yes,
8 6 Q The next rule is that it's important that you
7 7 don't answer questions with the words uh-huh or uhn-uhn
§ 8 because they're spelled essentially the same in the
° 9 transcript and it can be very confusing later.
te 10 Can you agree to not say uh-huh and uhn-uhn?
a ll A Yes,
i 12. Q The next important ground rule is that it's
a 13 important that you let me finish the question before you
i 14 begin an answer, If I'm asking the question and you
45 15 start answering while I'm still asking it becomes
i 16 impossible for the court reporter to take down what
au 17 we're both saying at the same time.
i 18 Can you agree to let me finish the questions?
13 19 A Yes,
oh 20 Q The final ground rule is if l ask a question
ee 21 and you don't answer or you don’t understand it you're
2a 22 entitled to ask for clarification before beginning your
Page 7 7 Page 9
1 PROCEEDINGS 1 answer.
2 MARVIN GAITAN 2 Will you agree to ask for clarification if
3 having been duly sworn, testified as follows: 3 you don't understand a question?
4 EXAMINATION BY COUNSEL FOR THE PLAINTIFF | 4 A Yes.
5 BY MR. THOMPSON: § Q What is your residential address?
6 Q Good morning. 6 A 258 Frederick Street, Hagerstown, Maryland.
7 A Good moming. 7 Q. Are there any people over 18 who live with
8 Q. My name is Eric Thompson. I'm an attorney 8 you?
9 for the United States Equal Employment Opportunity 9 A Mywife.
10 Commission and I'm here to take your deposition today in) 10 Q- What's her name?
11 the case of EEOC versus Ecology Services, Inc. 1] A Marian.
12 Could you state your full name for the 12 Q_ Gaitan?
13 record? 13 A Yeah.
14. A Marvin Gaitan. 14 Q_ Anybody else besides her?
15 Q_ Have you ever had your deposition taken 15 A Myson.
16 before? 16 Q_ Ishe over 18?
17. A No. 17 A No.
18 Q Well, there's some ground rules for having a 18 Q_ Anybody else over 18?
19 deposition taken. The first is that I'll ask you 19 A No.
20 questions and then it's important that you answer out 20 Q What's your business address?
21 Joud and with words. Polnting, shaking your head, 21 A What does that mean, business address?
22 nodding, making hand gestures, things like that aren't 22 Q. What's the address of the place where you
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Pages 14.17

 

Page 14
1 plus two mechanics?

2 A Yeah, it was that for like two years. Before

3 that we don't have that many people there because we
4 don't have Frederick County contract and that was --
5 before that was less people.

6 Q_ Which county?

7 A Frederick County.

8 Q_ So when did the Frederick County contract

9 start?

10 A That was pretty much three years ago -- two

11 orthree years ago so 2016.

12 Q Do you remember working with a woman named
13 Kristen Hamilton?

14 A Yes,

15 Q_ Was she working there when the Frederick

16 County contract started?

17 A No.

18 Qs The Frederick County contract was after she

19 left?

20 A Westarted Frederick contract before she

21 started and we still have the Frederick contract after

22. she left.

Page 15

1 Q_ And it's when the Frederick County contract

2 started that it jumped up to 50 to 60 employees?

3 A (Witness nods.)

4 Q Were you the only supervisor on site?

5 A There was another guy at that time helping

6 me, Mel, he was there too,

a Q Is thnt Mel Morales?

8 A Yeah,

9 Q_ Was he your boss?

10 A He was my general manager, yeah.

11 Q He was your manager?

12 A Yeah.

13 Q And what was the physical location you worked
14 at?

15 A Frederick.

16 Q_ And did Kristen Hamilton work in Frederick
17 too?

18 A That was the Frederick yard, yes.

19 Q What was the name of the company you worked
20 for?
21 A Ecology.
22 Q Was it Ecology Services, Inc., do you

 

 

Page 16
1 remember?
2 A I don't remember.
3 Q You just called it Ecology?
4 A Ecology. We always call it Ecology.
5 Q Does Ecology have other locations?
6 A In Maryland, yes.
7 Q_ Do you know what the other locations are?
8 A Not the physical address but I know we have
9 yards in Gaithersburg. We have another yard in
10 Sykesville. They have another yard in Howard County.
11 Q Do you know where the Howard County yard is,
12. like which part of Howard County?
13 A No.
14 Q_ So Gaithersburg, Sykesville, Howard County,
15 Anyplace else?
16 A Not that I remember now,
17 Q. Asa manager was one of your duties
18 disciplining employees?
19 A Yes.
20 Q What type of things would employees be
21. disciplined for?
22 A Tardiness, not making sure that the route was
Page 17
1 done on every single house.
2 Q_ Anything else?
3 A Not that l remember now.
4 Q Ifyou had to discipline an employee what
5 types of discipline would you use?
6 A We have write-ups, the write-ups. The first
7 one was kind of verbal, talking to the employee doing
8 something wrong then it was a first write-up, second
9 write-up and third write-up and then was suspension and
10 then termination.
11 Q When you were a manager at Ecology in
12 Frederick would you ever send employees to other
13 locations?
14 A Yes,
15 Q Under what circumstances would you do that?
16 A Ifyou have extra employees and the other
17 yard was short on employees, we send drivers to do a
18 route or helpers.
19 Q__ Did you ever receive employces trom other
20 locations?
21 A Yeah.
22 Q When would you receive employees from other

 

 

 

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Pages 22.25

 

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Page 22
A With Carlas Paz?
QQ. ¥es.
A Yes.
QQ. Does Ecology employ other-- when you were

there and Kiisten Hamilton was there, did Ecology emplo
otherpeople who didn't speak English or didn't speak
English well?

A Yeah.

Q__ Do you now about what percent didn't speak

English very well?

 

A Probably at our yard it's like ten percent.

Q Did Kristen Hamilton work with a man named
Vidal?

A Yes.

Q Do you know what Vidal's last name was?

A Veltran I think itis.

Q Do you know how to spell that?

A V-E-L-T-R-A-N.

Q- Was he still there when you left Ecology?

A Yeah, he's still there.

Q Do you keep in touch with him?

A Yeah.

Page 23

Q So you know he still works for the company?

A Yes,

Q Did you know Vidal before he started workin
for Ecology?

A Yes.

Q How do you know him?

A He's from the same place where [am from.

Q Where is that?

A EtSalvador.

Q Did you guys grow up in the same town?

A Same town, yes. He's younger than me but
yenh, in the same town.

Q Do your families know each other?

A Back in the country, yeah.

Q Did you know Canlos Paz be fore?

A No.

Q Is Canos Paz from El Salvador?

A No.

Q Do you know where he's from?

A Colombia.

Q Did Vidal speak English?

A Alittle bit.

To MV OANA YaRawWDH

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Page 24

Q About the same as Paz?

A Probably a little bit more.

Q_ When you spoke to Vidal did you speak to hi
in S panish?

A Yes.

Q When did you fist meet Cailos Paz?

A The first time that] met him was at
Frederick station working for Ecology.

Q = When was the last time you spoke with him?

A With Carlos Paz probably a yearand a coup

months ago.

Q Have you spoken to him since you left
Ecology?

A No.

Q Does Ecology do any kind of orientation for
drivers?

A Yes.

Q  Whatis the orientation process?

A Orientation process is, you know, we show |
the guys, to the drivers how to fill out paperwork, ho

to go to the landtill and dump the trucks, how to drive
trucks with helpers. They have their CDL license buj

Page 25

they don't have experience drivmg the trucks, We givp
%

another driver experience probably the first week ort
going to the new drivers and drive around routes.

Q Anything else as part of the orentation
process?

A Not that remember now,

Q_ What was your ole in the orientation

process?

A Normally when we hire some new driver I havp

somebody else doing the training and my part was vq
little,

Q Did Kiis ten Hamilton complete the orientation
process?

A Yes.

Q  Whatis your undeistanding of what sexual
harassment is?

A My understanding for sexual harassment
probably is somebody having dirty looks at someone
speaking some sex language to someone or sign lan
probably.

QL there anything else you can think of that

would be sexual harassment?

 

 

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MARVN GAIPAN -02/52019

Pages 26.29

 

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Page 26
A

Q Did Ecology take any steps to prevent sexual
harassment when Kristen Hamilton worked for the company?

Touching someone.

A Can you say that again, please?

Q Did Ecology take any steps (o prevent sexual
harassment when Kristen Hamilton worked for the company?

A
harassment when Kristen Hamilton works there?

Q. Yes,

A Well, we do everything the same. I don't

If we take ony steps to prevent sexual

have any -- no, I don't --
MS. COOPERMAN: Do you understand the
question?

A Tdon't understand the questton.

BY MR. THOMPSON:

Q Did Ecology have any kind of policies,
programs or procedures to stop sexual harassment from
happening at the company?

A Yes, it's in the handbook.

Q Does the company have any policies, programs
or procedures or anything like that outside of what's {n
the handbook?

Page 27

A Like I don't have any issues when I was
working there. I don't have any problem with sexual
harassment before. This is the first time that we have
something like (hat there at this particular location.

Q When you say this was the first time that you
had something like this at that particular location, do
you mean Kristen Hamilton's claim of sexual harassment?

A She was not claiming that.

Q What was she claiming?

MS, COOPERMAN: Objection.

A What was she claiming?

MR. THOMPSON: Yes.

MS. COOPERMAN: Objection. I'm objecting. I
think the question is confusing. There's no foundation.
You can ask him if she was claiming anything.

MR. THOMPSON: Okay, I'll back up.

BY MR. THOMPSON:

Q Other than having the sexual harassment
language in the handbook, did Ecology do anything as a
company to prevent sexual harassment from happening?

A I never done anything to prevent any sexual

harassment.

/ Page 28
1 Q What was your understanding of what you

2 should do if an employee reported sexual harassment to
3 you?

4 A Ifsomeone reports something like that to me

5 probably I'm going to call Mel, my manager and tell him

6 what's going on.

7 Q Is there anything else you were supposed to
8 do lf sexual harassment --
9 A Wecan call probably Human Resources and ask

10 for solutions.

 

 

11 Q Was it acceptable for you to talk to the
12 alleged harasser on your own without reporting it to
13 anyone?
14 A No.
15 Q Did you ever hear about an incident of sexual
16 harassment or a claim of sexual harassment that occurred
17 at the Gaithersburg facility?
18 <A No,
19 MR. THOMPSON: I'd like to have this marked
20 as Gaitan I,
21 (Gaitan Deposition Exhibit 1 was marked for
| 22 identification and attached to the transcript.)
| / / — Page 29
1 BY MR. THOMPSON:
| 2 Q_ I've handed you what's been marked as
| 3 Gaitan 1.
4 Is this Ecology's Employee Handbook?
} 5 A Yes.
| 6 Q Do you see at the top where it says Ecology
7 Services Refuse & Recycling, LLC?
8 A Uh-huh.
9 Q And do you see below that where it says
10 Ecology Services, Inc. 07?
1] A Ub-huh, yes,
12 Q > Thankyou. Which one did you work for?
13 A I don't know the location's own numbers, the
14 series.
15 Q Is there something called Ecology Services,
16 Ine, 06?
17 A 06 probably that's Frederick.
18 Q Do you know which one Ecology Services, Inc.
19 07 is?
20 A No.
21 Q Did you receive a pay stub?
22 A Yes,

 

 

 

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MARVN GATAN -02/A5019 Pages 34.37
Page 34 | Page 36
l A Okay. | A The rights are protected by federal law?
2 Q Are you familiar with the term "flirting"? 2 Q. Yes.
3 A Flirting, yeah. 3 A Yes,
4 Q Did you understand that sexual flirtations, 4 Q. What were Kristen Hamilton's job dutics?
5 advances or propositions could constitute sexual 5 A Driver.
6 harassment? 6 Q_ Was it her job to drive the garbage truck so
7 A Yes, 7 that the residential trash could be collected?
8 Q_ At the time you supervised Kristen Hamilton 8 A Yes.
9 did you understand that verbal commentary about an 9 Q Did she have any duties beyond that?
10 individual's body characteristics could constitute 10 A No.
11 sexual harassment? 11 Q When she drove the truck was she accompanied
12 A Yes. 12 by helpers?
13 Q The next one says "sexually degrading words 13 A Yes,
14 used to describe individuals." 14 Q What were the helpers responsible for?
18 Do you see where I read that from? 15 A To grab the can and put the trash in the back
16 A Yes. 16 of the truck.
17 Q At the time you supervised Kristen Hamilton 17 Q Howwmany helpers did she work with at a time?
18 did you understand that sexually degrading words used to | 18 A It depends on what route she's doing.
19 describe individuals could constitute sexual harassment? | 19 Sometimes worked one. Sometimes they worked two
20 A Yes. 20 helpers.
21 Q Then the next one is "use of 21 Q When would they work with just one helper?
22. sexually-oriented or degrading gestures or other 22 A Normally it's when we send a driver lo
|
— Page 35 | Page 37
1 nonverbal communications." 1 collect missed collections.
2 Do you see where I read that from? | 2 Q So when it was a regular route where you were
3 A Yes, 3 actually collecting the trash and not just getting the
4 Q At the time you supervised Kristen Hamilton 4 missed locations, would that tend to be two drivers?
5 did you understand that the use of sexually-oriented or | 5 A For one route?
6 degrading gestures or other nonverbal communications 6 Q_ Yes.
7 could constitute sexual harassment? 7 MS, COOPERMAN: Two drivers?
8 A Yes, 8 MR. THOMPSON: Not two drivers. Two helpers.
9 Q Last one is "intentional physical contact." 9 A If they have a regular route and that route
10 Do you see where I read that from? 10 was heavy or big there was two helpers. If they were
UL A Yeah. 11 sending a driver to pick up misses it was a helper and
12 Q Atthe time you supervised Kristen Hamilton | 12 driver.
13 did you understand that intentional physical contact — | 13 BY MR. THOMPSON:
14 could constitute sexual harassment? 14 Q So when Kristen Hamilton was doing her job
15 A Yes, 15 she would be out on the road with one or two helpers; is
16 Q At the time you supervised Kristen Hamilton | 16 that right?
17 did you understand that sexual harassment was 4 \7 A Probably.
18 violation of federal law? 18 Q_ And there was no supervisor present with her;
19 A I was not sure at that time there was a 19 is that right?
20 violation of federal law. 20 A Whenshe was doing the route?
21 Q Did you know if it was a right protected by 21 Q. Yes.
22 federal law? 22 A Not the whole time. Not all the me.

 

 

 

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MARVN GAITAN - 02/5019

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Page 42
Q Does the Mack truck need a sign on it for a

wide load?
A If they gota sign for wide load?
Q Yeah. I mean is it wider than other trucks?
MS, COOPERMAN: Objection.
A I don't understand the question.
BY MR, THOMPSON:
Q_ Have you ever been on the highway and seen 4
vehicle that's marked Wide Load and they've got a
vehicle following them?
A Wide load, that's the (ruck who is taking
care making sure that nobody drive too close to that
truck, oversized load?
Q. Yes.
A Yeah.
Q Is the Mack truck an oversized load truck
like that?
A [don't think it's an oversized load but it's

wider than regular cars.

Q But it fits in one lane of traffic; is that
right?
A Yes.

Page 43
Q When you supervised Carlos Paz was he ever

disciplined?
A No, not that I remember.
MR. THOMPSON: I'd like to have this marked
as Gaitan 2.
(Gaitan Deposition Exhibit 2 was marked for
identification and attached to the transcript.)
BY MR. THOMPSON:
Q_ I've handed you what's been marked as
Gaitan 2,
Where it says Supervisor's Signature do you
know whose signature that is?
A No.
QQ Andif you look under Remarks it says "This
is first written warning for failing to return to the
yard with the truck as told to do and no¢ punching your
timecard out as told to do."
Do you sec where it says that?
A Yes.
Q_ Returning to the yard and punching the
timecard out, are those things he would have learned to

do in orientation?

 

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. : . Page 44
MS. COOPERMAN: Objection. I'm going to

abject. Just so it's clear, this exhibit looks like
2002.

MR. THOMPSON: No, seven.

MS, COOPERMAN: Seven, yeah so the question I
think may be -- is the question at this time or is the
question when --

MR. THOMPSON: The question is about
orientation,

MS. COOPERMAN: At that time?

MR. THOMPSON: Let's just see what the answer

is.

A 1 don't know about this time because 2007 but
when | was there it was mandatory that everybody have to
clock in and out every time.

MR. THOMPSON: I'd like to have this marked
as Gaitan 3.
(Gaitan Deposition Exhibit 3 was marked for
identification and attached to the transcripL.)
BY MR. THOMPSON:
Q Showing you what's been marked as Gailan 3

I'll give you a moment to look it over.

Page 45
(Pause in the proceedings.)
Have you had a chance to look it over?
A Yes.
Q Do you see where it says Supervisor's
Signature?
A Uh-buh, yes.
Q Is that Mel Morales's signature?
A Yes.
Q_ And under Remarks it says "Failure to
complete your route"?

A Yes,

Q Would failure to complete your route be
something that a person could be disciplined for when
you were a supervisor?

A When I was, yes.

Q. And up at the top there's an X for

Suspension?
A Yes.
Q Is that something you would have suspended

someone for, failing to complete their route?
A If they have more than three write-ups, yes.

 

 

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MARVN GATTAN -02A5019 Pages 50.53
Page 50 Page $2
1 Gaitan 6, I'll give you a moment to look it over. | BY MR. THOMPSON:
2 A Yeah, this is the lime that I was talking 2 Q_ So you're saying ESRR and ESI 06 are the same
3 ahout. 3 companies?
4 Q_ Gaitan 6 is the time you were talking about 4 MS. COOPERMAN: Objection.
5 when Paz was fired? 5 A I was not saying that.
6 A Yes, 6 BY MR. THOMPSON:
7 Q_ If you look up at the Company Code it says 7 Q How would you describe the relationship
8 ESRR? 8 between ESRR and ESI 06?
A Yes. 9 A ESI 06 is just Frederick County. That's for
10 Q What does ESRR stand for? 10 the County so ESRR is just private routes.
ll A Ecology Services Refuse & Recycling. 11 Q Was Mel Morales the supervisor for ESI 06 and
12 Q Is that a different company than ESI? 12 ESRR?
13 A That was the -- this is the company for 13. A He's the general manager.
14 private routes and then for the County they have ESI06. |14. Q So is he the manager for both of those
15 Q So why was the Termination Form written up 15 entities?
16 with Ecology Services Refuse & Reeycling? 16 A Yes.
\7 A Because back in those days we don't have 17 Q Did Carlos Paz and Kristen Hamilton ever work
18 Frederick County contract yet and this is the company 18 together?
19 that we use at that time. 19 A Yes,
20) Q Did Ecology Services Refuse & Recycling still | 20 Q Do you know how often they worked together?
21° exist at the time he left the eampany? 21 A I don't remember that, how often it was.
22 A At that time, yes. 22 Q Did a driver work with the same helpers
— —= Page 51 - Page 53
1 Q__Do you know how many people worked for 1 everyday?
2 Ecology Services Refuse & Recycling? 2 A When they have the -- when they have their
3. A No,I don't remember. 3 routes assigned to the driver, yes, but when they don't
4 Q Did Ecology Services Refuse & Recycling have | 4 have a route they drive different routes every time and
5 different facilities nan ESI? 5 different helpers.
6 MS. COOPERMAN: Objection. 6 Q Did Kristen Hamilton drive different routes
7 BY MR. THOMPSON: 7 with different helpers every time?
8 Q  Youcan go ahead, 8 A Yes.
9 A If they have different facilities? 9 Q Were Paz and Hamilton friends?
10 Q. Yes. 10 A I don't know.
ll A Like a different yard? 11 Q Did you ever see Paz hug Hamilton?
12 Q. Yes. 12 A No.
13. A [don't know if that's a different facility 13 Q Do you know if Paz and Hamilton had a
14 because I was calling this -- every single -- every 14 romantic relationship?
15 private route they have this company so some yards like 15 A I don't know.
16 Sykesville and I think this company and Frederick is 16 Q Do you know if Paz and Hamilton ever had a
17 ESL 06. 17 sexual relationship?
18 Q_ So did people work for ESRR and ESI 06 at the | 18 A Not that I know.
19 same time? 19 Q Did you ever see Paz expose himself to
20 MS. COOPERMAN: If you know. 20 Hamilton?
21 A No, they don't work at the same time for 21 A No.
22 those companies -- for the same company. 22 Q Did you ever sce Paz expose himself to

 

 

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Pages 62.65

 

. . Page 62
Q Did Hamilton ever complain to you about

Vidal?
A Yes.
Q What did she complain about?
A She complained about -- one time she sent me
6 a text saying that Vidal was doing -- urinating inside
7 the truck. Not in the cab but in the box where the
& trash is. Those tucks normally have a blade inside the
9 box where they move back -- all the way back in the
LO morning when they start working and Vidal -- I think he

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11 got in and Hamilton was complaining for that.
12 Q What did you do when you received that
13 complaint?

14 A Ltalked to Vidal about it.

15 Q Did you report it to Human Resources?

16 A I make a write-up for him and write-up should
17. be here, yeah.

18 Q What type of write-up was it?

19 A lt was a verbal warning. I think it was a
20 verbal warning. I'm not sure.
21 Q Did she come into your office to complain
22 about him?

- Page 63

l A No, she text me.

2 Q When she got back from her route that day did
3 she come into your office to complain?

4 A No.

$ Q Is there a rule against urinating in the back

6 of the truck?

7 A Not that J remember now.

8 Q Is urinating in the back of the truck

9 supposed to be grounds for Immediate termination?
10 A [don't know.
il Q After Kristen Hamilton left did Paz work with
12 any women at Ecology?

13 A After she quit?

14 Q. Yes.

15 A Yes

16 Q Do you know the names of those women?
17 A [have Maria Amaya. I have Jacqueline

18 Ferguson and Paige. She works in the office all the
19 time. I don't remember if it was Paige or Ellie. Ellie
20 was after Paige so I don't remember who was there at
21. that time.

22 Q Do you know Ellie's last name?

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Page 64

A Westerbeck.

Q Do you know how to spell that?

A. W-E-S-T-E-R-B-E-C-K { think,

Q What was Ellie Westerbeck's job title?

A She was in the office.

Q_ And Paige Looney was in the office; is that
correct?

A She was before Ellie, yes.
Q Did they do the same job?
A Yes.
Q What were they responsible for?
A They were responsible for getting on track
with the mileage of the truck, luel, tickets, all that
stuff. Office paperwork.
Q Did Kristen Hamilton quit working for ESI or
Ecology?
A She quit, yes.
Q Do you know why she quit?
A She quit -- I don't know why exactly was the
reason why she quit but the day or the reason -- well,
the day. Tremember the day, We have a little argument
with her because the week before on Friday she was doing
Page 65
one route over there in Westminster, Carroll County.
She had stopped the truck and she was refusing to drive
the truck until the helper removed a water hose that was
in the back of the truck. She called me that day to
complain that the helper -- the helper that ride the can
or the bin and they just dump it in the truck and she
was complaining that day one of those bins got a water
hose in there and the helper just grab it and dump it
into the truck and she was saying that that was not
recyclable.
So that was on Friday. Then the next day I
think was a Monday and she was late for work. She
called me in the morning and she told me I'm going to be
there late, probably 30 minutes late and she was like an
hour or so minutes late. When she show up to work I
called her to the office and I started talking to her
about tardiness and she was kind of mad. She was angry
and I take the point from the week before that she was
refusing to drive the truck and I told her that we are
not responsible to choose what is recyclable and what is
not recyclable. We just go there and grab the thing and
dump it into the truck. ‘That day I believe we were

 

 

 

 

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Paqe 66 Page 68
1 doing a write-up for her because she was super late and 1 employees?
2 she was mad. She start driving her car and went home. 2 A No.
3 Q So she wasn't fired; is that correct? 3 Q Did anybody ever talk to you about equal
4 A No. 4 discipline, disciplining employees on equal levels?
5 QI phrased that wrong. 5 A I was doing that for everybody, not just for
6 Was she fired? 6 her.
7 A Can you say that again? 7 Q But no one had a specific talk with you about
8 Q Was Kristen Hamilton fired from Ecology? 8 that aftcr Hamilton left?
9 A No, she was suspended that morning. Yeah, I 9 A Who?
10 remember she was suspended that morning. I told her 10 Q Like Margaret Gibbs or Robin Reach.
11 you're Jate today and she got a couple write-ups lt A Not that I remember now,
12 already. [ don't remember how many but probably more 12 MR. THOMPSON: I would like to take a break.
13° than three. I told her take a two-day suspension and 13 MS, COOPERMAN: Sure. Actually why don't we
14 come back on Wednesday and then she was mad saying that| 14 take ten minutes.
15 was not right and she went home and then she quit. 15 MR, THOMPSON: Yeah, that will work.
16 Q. Were you arguing with her before she was 16 (A brief recess was taken.)
17 suspended? 17. BY MR. THOMPSON:
18 A If there was argument with her before she was 18 Q_ Ihave a few more questions.
19 When Carlos Paz was fired do you know where

19 suspended?
20 Q. Yes. 20 he went to work after that?

21 A I don't remember that. 21 A Back in 2015?

22 Q When did you decide to suspend her? 22 Q_ Yes.

Page 69

Page 67
A Na, I think he went to Canada or Alaska or

A When she was acting up in the office.

Q So when she walked in that day you weren't somewhere like that.

]
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planning on a suspension at that point? 3
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3 Q Did he apply for work again with Ecology?
4 A Not in the morning, no. A Yeah, J think he reapplied.
§ Q So when she came in in the morning were you Q Did you make the decision to hire him back?
6 planning to send her out on a route? 6 A No.
7 A {think I have everybody out that day and she 7 Q Do you know who hired him back?
8 was -- I don't remember if] was planning to send her 8 A No,
9 home that day or put her to help someone. I don't 9 Q Doyou know when he reapplied?
10 remember that, 10 A [don't remember dates,
11 Q Do you remember if she was supposed to work | 11 Q Do you know what month it was?
12 with Carlos Paz that day? 12 A No.
13 A No, Carlos Paz was gone that day. 13 Q_ Was it before the spring of 2016?
14 Q Did she ever ask you to not work with Carlos | 14 A [have no idea.
15 Paz? 15 Q Were you surprised to see him back?
16 A No. 16 A Yes,
17 Q Kristen Hamilton was suspended for two days, | 17 Q_ Were you disappointed that he was back?
18 correct? 18 A Iwas notreally disappointed because he was
19 A That was the -- yeah, she was -- I was trying 19 a hard worker person and on this day that he was fired

he was not following my order that I give to him so it's

20 to suspend her [for two days. 20
something that you have to do but other than that he was

21 Q After Kristen Hamilton quit did anyone from | 21
22 HLR. have a conversation with you about disciplining | 22 good doing his job.

 

 

 

 

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Pages 70..73

 

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Q Did he also work as a mechanic?
A I think he's like a helper, mechanic helper.

Page 70

Q What was your impression of Kristen Hamilton

as an employee?

A Asan employee was disappointed.

Q_ In what way?

A She was not responsible, She was always
late. She was that kind of person that if you say
something to her she'll tell you something back.

Q How would you describe her appearance

physically?

A What do you mean?

Q How tall is she?

A Probably she's a little taller than me,
5'7" probably.
Do you know what color hair she had?
She has blond hair.
Do you know what color eyes she had?
Blue eyes.
How would you describe her build?
Build?
Yeah, her build.

Orr OP

A Ability?

Q. Her physical build, her body type.

A I don't know, Her body type? She was kind
of big, tall.

Page 71

Q Was Kristen Hamilton ever disciplined when

she worked there?

If she was disciplined?

Yes.

Couple limes.

What for?

Being late.

Anything else?

I think for a miss, a missed collection one
time I think. She was directed to pick up a miss and
she said that she went there and she said that the miss
was not there and then the County called me back and
said that by 3:00 p.m. the miss is still there so she

rFOrQoer oY

have discipline issued for that.
Q Anything besides that?
A Not that I can remember now,

Q You mentioned that ESI employed a woman named

Paige Looney?

 

1 A Uh-huh.

2 Q_ Were you Paige Looney's supervisor?

3 A Yeah, I was in charge for the whole yard,

4 yes.

5 Q Did you ever ask Paige Looney to go on a date
6 with you?

7 A No,

8 Q Did you ever ask her to have sex with you?

9 A No.
10 Q Do you know why she left ESI or Ecology?
I A No.
12 Q Did she ever tell you she was golng to leave?
13 A No.
14 Q_ Was she fired?

1S A No, she quit.

16 Q Did she put in any notice before she quit?

17 A Like a week before, no.

18 Q Did she tell anybody she was going to quit
19 before she qult?
20 A I don't know.
21 Q If she was going to quit who would she have
22. told about it?

- _ ~ Page 73

1 MS. COOPERMAN: Objection, You may answer,
2 A believe she called -- she called this

3 office. I did not hire her so she was pretty much

4 not -- I believe she called this office to alert them

5 that she's going to quit.

6 BY MR. THOMPSON:

7 Q When you say "this office’ do you mean the
8 company headquarters in Columbia?

9 A Yeah.

10 Q Is this the company headquarters here in

11 Columbia?

12 A Yes.

13 Q On Guilford Road?

14 A Yes,

15 Q Does the company have any other offices?

16 A Not that I know.

17 Q Where is Mel Morales's office?

18 A [think it’s here,

19 Q_ Have you ever been to his office?

20 A Yeah.

21 Q_ Where was it?

22 A Somewhere back there (indicating).

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Pages 78.81

 

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Page 78
warning when she already had --

A Probably I just make a mistake. I don't
check her file on time on pretty niuch the first one.
Probably she was new here. I don't remember how many
months she worked there but probably she was new at this
time, 6/25,

Q So when you say she was new, what impact
would that have on you in terms of deciding what kind of
discipline to give her?

A We have three months probation on employees
all the time, Every employee who get there got three
months probation and this definitely affect the
employees to do their work. When you have a lot of
paperwork in there you can fire them without problems.

(Gaitan Deposition Exhibit 9 was marked for
identificaion and attached to the transcript.)
BY MS, COOPERMAN:
Q_ I'm showing you what's been marked as Exhibit
Number 9 and ask you if you would tell us what this

document is?

A This is an Employee Disciplinary Fonn for
Kristen Hamilton. I think this was the first verbal

— Page 79

warning for her showing up at 8:00 a.m. to work.

Q_ And this was on July 15th?

A July 15th, yes.

Q 2016?

A Yes.

Q_ Now, as you just stated you gave her a verbal

warning for this lateness,

Is there a reason -- since she had the two
other written warnings is there a reason why you gave
ber a verbal warning as opposed to a more severe
discipline?

A__ This one is before or after the other ones?

Q_ It was after.

A So I don't remember the excuse she was giving
me that date. Probably because she say something about
her son was sick or something like that and just give
her a verbal warning but I put it on paper saying that
she was super late on this date.

Q_ Now, you indicate that she was super late,

What time way she supposed to report to work?

A [wanted my employees there everyday between

6:00 and 6:15.

 

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Page 80
Q. What time are the trucks supposed to go out

to start their routes?

A They got to be in their route by 7:00.

Q What happens if they're not in the route --
strike that and let me ask you this.

When you say “in the route" do you mean they

have to be over at the location where the route starts?

A On the location where it will be at 7:00 a.m.
to start collection. Frederick County requires --
that's mandatory for Frederick County. The trucks have
to be in the route by 7:00 a.m.

Q To get on the route by 7:00 a.m. what time do
the trucks need to leave the Frederick yard?

A It depends where they're going, If they're
going to Emmitsburg, from Frederick to Emmitsburg it's
like 45 minutes driving, 30 minutes driving so they have
to be in the route by 6:00 a.m, They got to do pretrip
inspection of the trucks and then they gol to head to
Emmitsburg by 6:15, 6:20.

Q What would be the latest time a truck could
leave the yard to get to the route in time?

A To get to the route? Like I say, it depends

Page 81

on where they're going.

Q The one that has the shortest distance.

A Shortest distance? We start some routes --
close to the yard they got to be -- just getting off the
yard they're on the route so they got to be out of the
yard by 7:00.

Q  Doyou recall what routes those were?

A No, they have numbers. I don't remember the
numbers.

Q_ And when an employee arrives at the route at
9:00 a.m. -- excuse me, arrives at work at 8:00 a.m.
would they be able to go out on their regular route?

A No, Ihave to ~- if they are late like this
on this date that change everything for me to handle the
operation because J have everybody assigned to every
route and if somebody don't show up on time that means |
have to change everything in the moming to make sure
everybody is on the route on time.

Q So when you say you have to change everything
what would that involve?

A That involved drivers, helpers because I was
counting on her to be on misses that day or going to

 

 

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Page 82 Page #4
1 Clover Hill that day so that mean that I have to put | and be here on time so we put it on paper to prove.
2 somebody else there and then change the plan to this 2 Q When you had this conversation did you
3 driver. Ifnot, I have to call another yard saying [ 3 indicate to her what could happen to her if she
4 don't have a driver for this route. I need someone to 4 continued to be late?
5 help me over here. 5 A Yeah, I told her about the three chances that
6 Q. Andif you have a helper that -- or a helper 6 they have, three warnings and then it's suspension and
7 that does not report to work cither at all or comes in 7 then termination.
8 too late, do you have to find another helper for the 8 (Gaitan Deposition Exhibit 11 was marked for
9 truck? 9 identification and attached to the transcript.)
10 A Wehave to find another helper. 10 BY MS. COOPERMAN:
Il Q Arc there ever times that only one helper ll Q_ I'm showing you what's been marked as Exhibit
12 goes out because of absentecism, lateness? 12 Number 11 and ask if you can ¢ell us what this document
13 A Sometimes they have to be out. There was 13 is?
14 this one helper that we wail to find somebody else. We 14 A This is another Disciplinary Fonn for Kristen
15 call Carroll County yard or Frederick yard saying on {5 Hamilton on 8/18/2016 and it was for excessive
16 this truck I only have one helper and this route is big. {6 tardiness. Employee did not clock in until 8:00 a.m.
17 [need someone to help him or if there's not, I jump in 17 Q And you gave her a third written --
18 the truck and help the guy to finish the route. 18 A This was the third one and this was probably
19 (Gaitan Deposition Exhibit 10 was marked for 19. in less than six months.
20 identification and attached to the transcript.) 20 Q Did you have a conversation with Ms, Hamilton
21 BY MS. COOPERMAN: 21. at this time about her lateness?
22 Q__ I'm showing you what's been marked as Exhibit | 22 A Yeah, every time that she would sign this
Page 83 — Page 85
1 Number 10 and ask if you can explain what this document | 1 there was a conversation to her about being late.
2 is? 2 Q What was her response as to why she was late
3 A This is another Disciplinary Form for Kristen 3 sometimes?
4 Hamilton, the second written warning, show up at 7:15. 4 A Like I said before, she was that kind of
5 This is pretty much one hour late on this 5 person. If you say something to her she was saying two
6 date. 6 words back,
7 Q_ And this was on August 11th? 7 Q_ Such as?
8 A August 11, 2016. 8 A She was like ] overslept. I'm tired or I got
9 Q_ Since this was after the truck was supposed 9 to take my son to -- my son was awake all night, all
10 to be there on the route, was she able to -- would she 10 that stuff. All kinds of excuses.
11 have been able to handle the route -- drive the route Li (Gaitan Deposition Exhibit 12 was marked for
12 that you had planned on assigning -- or that you had 12 identification and attached to the transcript.)
13 assigned her on that day? 13. BY MS. COOPERMAN:
14 A Yes, sometimes they finish the route but they 14 Q I'm showing you what's been marked as Exhibit
LS finish the route late. Normally the helper is there by 15 Number 12 and ask you if you can tell us what this
16 6:00 a.m. waiting for the driver. The driver show up 16 document is?
17 late. That means they're going to be finishing the 17 A _ This is another Disciplinary Form for
18 whole operation super late. 18 unexcused tardiness again clocking in at 8:27 a.m. on
19 Q Did you have any conversations with 19 9/1/2016.
20 Ms. Hamilton about her lateness? 20 Q_ And this indicates -- ] see handwritten it
21 A Yeah, all this written warning was 21° says 4th Written Warning,
22 conversation to her saying you have to be responsible 22 A This one was the fourth one, yeah.

 

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Q And can you tell us why you gave her a fourth

written warning instead of a suspension?

A I don't remember at this time why I was doing
that but probably was because I was taking -- I was
trying to give her more chances to be -- to have a job
since she was complaining all the time that her car was
broke. She don't have money to fix her car so I was
giving her another chance,

(Gaitan Deposition Exhibit 13 was marked for
identification and attached to the transcript.)
BY MS. COOPERMAN:

Q_ I'm showing you what's been marked as Exhibit
Number 13 and ask if you would tell us what this
document is?

A I put this on paper because I believe Kristen
Hamilton called this date saying that her son was sick
and that she's going to take off this date. I put it on
paper just (o prove that she was off on 9/30/2016.

Q_ This says Employee Disciplinary Form, You
documented this absence?

A Ijust documented, yeah, because I don't mark
any first one, second one. I don't say suspension,

Page a7
nothing like that. [just put it on paper and put it in
her file to -- if in two years you go back to her file
and check you got this paper saying okay, she take off
this date and here is the reason, She said her son was
sick,

Q So you didn't discipline her for that?

A No, this was not any discipline thing.

Q So you accepted that absence and you gave her
an excuse?

A Yeah, this is pretty much an excuse.

(Gaitan Deposition Exhibit 14 was marked for
identification and attached to the transcript.)
BY MS, COOPERMAN:

Q I'm showing you Exhibit Number 14 and can you
tell us what this document is?

A This is another Disciplinary Form for Kristen
Hamilton, 2016, 11/7. Employee show up for work at
7:35 a.m.

Q_ And then --

A This is the day when I sent her to home,
Employee show up at 7:35. She called me around 6:00
a.m, saying that she was going to be there probably a

 

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Page 88
half bour late for work and she show up at 7:35 so I

decide to -- after we have the discussion and everything
[ decide to send her home on the 7(h and 8th.

Q_ So that was really a Qvo-day suspension,
right?
A Two-day suspension.

Q. At the top it indicates Sth Written Warning
as opposed to suspension.
A Yeah,

Q_ Is there areason why you wrote that in as
opposed to checking Suspension if you know?

A Probably because I was trying to do a warning
for her but after she just start acting out for her
behavior, I just decide to send her home.

Q_ Now, you just mentioned that she started
acting out when you were disciplining her for again
being late on November 7th,

A Uh-huh.

Q_ And you've testified to that before.

At any time during that conversation did she
complain to you or say anything that Carlos Paz had been
sexually harassing her during work?

A No.

Q_ And now you said that she got angry at you at
that time, right?

Yeah.

And she left the office angry?

Yes,

And drove off, correct?

She was driving her -- yeah.

Q How did you learn that she -- when did you

learn that she quit her job?

Page 89

> Or >

A When did I know she quit her job?

Q_ Yeah, when did you first learn that she quit?
A I don't remember at this time.

Q Was it that day?

A I think it was that day but I don't remember

if it was. She text me something or somebody else tell
me something like Paige, the lady in the office telling
me she was quitting or I believe she text me something
and say she was quitling the job.
Q. And do you recall what she said in the text?
MR. THOMPSON: Objection. You can go ahead

and answer,

 

 

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